IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

BARBARA ANN HARTEE, an individual
on her own behalf and on behalf of the Estate
of decedent Gilbert V. Hartke

Plaintiff,

Civil Action No.:
Vv.

BONHAM’S & BUTTERFIELD’ S
AUCTIONEERS CORPORATION, A
DELAWARE CORPORATION; THE
CATHOLIC UNIVERSITY OF AMERICA,
A NON-PROFIT DISTRICT OF
COLUMBIA CORPORATION

Defendants.

 

 

NATURE OF ACTION

Plaintiffs Barbara Ann Hartke, individually and on behalf of the Estate of Gilbert V.
Hartke, deceased, complains of defendants Bonham’s & Butterfield’s Auctioneers Corporation
and The Catholic University of America seeking equitable relief and damages.

THE PARTIES
1. Plaintiff Barbara A. Hartke is a citizen of the State of Wisconsin, residing at 705 S. Lakeshore
Drive, Apt. 2H, Lake Geneva WI 53147. She was the niece of and heir to the Estate of one
Gilbert V. Hartke, deceased.
2. Defendant Bonham’s & Butterfield’s Auctioneers Corporation (Bonham’s) is, upon

information and belief, a Delaware corporation duly qualified to do business in the State of
New York, County of New York with its principal place of business located at 580 Madison
Avenue, New York NY 10022.
. Defendant The Catholic University of America (Catholic University) is, upon information and
belief, a nonprofit Washington, D.C. corporation, operating as an institution of higher learning
located at 620 Michigan Avenue, NE. Washington, DC 20064 and organized for charitable,
religious, and educational purposes within the meaning of Section 501(c)(3) of the Internal
Revenue Code.

JURISDICTION AND VENUE
This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1332(a)(1) because the
plaintiff is a citizen in the State of Wisconsin residing in the State of Wisconsin and
defendant Bonham’s is a corporation incorporated in the State of Delaware with its principal
place of business located in the State of New York: defendant Catholic University is a non-
profit corporation located in the District of Columbia, the matter in controversy exceeds the
sum of $75,000.00, exclusive of costs and interest, and the parties herein are citizens of
different States.
Venue is proper in this district pursuant to 28 U.S.C. §1391 because defendant Bonham’s has
its principal place of business in the State of New York, resides within the Southern District
of New York, and a substantial part of the events or omission and damages giving rise to this
action are occurring in this District.

INTRODUCTION

. Plaintiff files this action seeking to immediately halt Defendant’s auction of property that

belongs to the Estate of Gilbert V. Hartke, deceased. Plaintiff is the niece and closest living
heir of the late Gilbert V. Hartke (decedent) who passed away in the District of Columbia on
February 21, 1986.

7. This Complaint arises out of an advertisement by Bonham’s indicating that an auction is
scheduled to take place on May 24, 2022 at 10:00 AM PDT of “An Important Costume worn
by Judy Garland as Dorothy in the Wizard of Oz.” M.G.M. Designed by Adrian. According
to the advertisement on Bonham’s website:

The dress worn by Judy Garland as Dorothy Gale throughout the scene
set in the Witch’s Castle, when the Wicked Witch of the West [Margaret
Hamilton] has captured Dorothy and threatened her with death.
Comprising a blue and white gingham pinafore dress with a fitted bodice
and a full skirt, with handkerchief pocket, two mother of pearl buttons in
the front and two to the reverse, wit a hook and eye closure at the back
with fabric label in side inscribed ‘JUDY GARLAND 4223’ with a short
sleeved blouse of cream organdy with a high neck trimmed at the neck
and cuffs with pale blue rickrack trim, the blouse with hook and eye
closure to the neck and snap closure to the body.
Provenance
Mercedes McCambridge
The Catholic University of America

The website states $800,000-$1,200,000 in describing the dress, apparently estimating the

successful bid. Upon information and belief, said figures underestimate the actual selling

price.

8. This action challenges defendants’ false claim that the Important Costume (“dress”)
advertised on the Bonham’s website to be auctioned has the provenance, i.e. ori ginates with
or has an earliest known history with. solely, the late Mercedes McCambridge and Catholic
University. This claim is false because, while at one point McCambridge was the owner of
the dress, McCambridge specifically and publicly gave the aforesaid dress to decedent

Gilbert V. Hartke and said dress is therefore an asset of decedent’s estate.
9. Upon information and belief, the dress was missing for decades and relocated in 2021 with
decedent’s belongings in a storage location on the Catholic University campus where
decedent, a Roman Catholic priest, was long employed as a University Professor and Drama
Department Chairman. Catholic University apparently has made no attempt to locate
decedent’s heirs since the dress was relocated. Catholic University has no ownership interest
in the dress as, upon information and belief, there is no documentation demonstrating that
decedent ever formally or informally donated the dress to Catholic University.

10. McCambridge was a star in her own right and appeared in numerous films and television
shows. McCambridge had a long-term personal relationship with Hartke that was only
tangentially related to his position at Catholic University. McCambridge credited Hartke for
helping her battle alcohol and substance abuse. She was obviously a close confidant of Judy
Garland and the gift of the dress to Gilbert V. Hartke was to thank Hartke for his counselling
and support. McCambridge later founded and ran an organization for the treatment of
alcoholism and substance abuse for many years.

11. Plaintiff as rightful heir of decedent on her own behalf and on behalf of any other living and
rightful heirs of his Estate here seeks this court’s intervention to immediately grant a
temporary restraining order and/or a preliminary injunction enjoining Bonham’s from
continuing the auction in order to prevent irreparable harm that will result if the dress is
transferred to unknown buyers.

12. Upon information and belief, the dress at the time of the filing of this Complaint is physically
located in this District at Bonham’s place of business, 580 Madison Avenue, New York NY.
Plaintiff now seeks immediate return of the dress to the Estate of Gilbert V. Hartke. In the

alternative, Plaintiff respectfully requests that this court enjoin either or both defendants from
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transferring the dress out of this district unless and until the rights of the parties are
adjudicated.

The dress has great and substantial sentimental value to plaintiff, is unique, and is recognized
worldwide as an iconic image of perhaps the most beloved and watched film in the history of
cinema. Ms. Garland, the late actress who wore the dress in the film is, of course, an
immortal figure in Hollywood and still has millions of admirers and devoted fans throughout
the world. Her character, Dorothy was and to this day remains a heroine of young girls
everywhere. The property is priceless and defendants’ conversion of same has caused and
continues to cause great emotional harm to the plaintiff as the closest living heir of Gilbert V.
Hartke.

Father Gilbert V. Hartke, was, in his own right, a famous public figure, close to Presidents,
First Ladies, Hollywood stars and political and public figures worldwide. His contributions to
the University, the world of drama and to the District of Columbia community are still
recognized and honored decades after his passing. The temerity of defendants in failing to
honor his memory and ignore his legacy is insulting and distressing to the plaintiff and other
living heirs.

Plaintiff Barbara Ann Hartke, like her uncle, pursued a lifelong career in the field of
educating young minds and is a retired Chicago school teacher. She had a close relationship
with her uncle. She and the rest of the family were well aware of the gift of the dress when it
occurred in the 70s and were under the impression that it was lost forever until the press

coverage of the auction on major mediums including the Today Show last week.
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Defendants failed to employ due diligence, or, for that matter, any diligence at all in
attempting to locate the heirs of Gilbert V. Hartke and advise them of the finding of the dress

and their intent to sell it without any compensation to its rightful owners.

FIRST CAUSE OF ACTION

CLAIM SEEKING DECLARATORY RELIEF

Plaintiffs hereby incorporate by this reference paragraphs 1 through 11 above as if set forth

fully herein.

. In a case of actual controversy within its jurisdiction, any court of the United States “may

declare the rights and other legal relations of any interested party seeking such declaration,
whether or not further relief is or could be sought. 28 USC § 2201(a).

An actual controversy exists between the Parties in this case with respect to the title to the dress
which is referenced and described above.

It is necessary and proper that the rights and status among the parties hereto be declared,
including with respect to the parties’ interests in the Property.

Plaintiff seeks a declaration of rights, including a declaration that the right to possession of the
dress by the Estate of Gilbert V. Hartke is valid, enforceable, and superior to any claim of
defendants.

The dress is not for sale or for release into commerce, and hence there is no monetary remedy

that can restore the right to possession to Estate of Gilbert Hartke other than a declaration by
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this court of its rights to the property and the return of the property to the Estate of Gilbert V.
Hartke.
There is no alternative, adequate remedy at law to restore the parties to the status quo ante.
SECOND CAUSE OF ACTION
CLAIM FOR CONVERSION AND RETURN OF PERSONAL PROPERTY
Plaintiff hereby incorporate by this reference paragraphs 1 through 18 above as if set forth
fully herein.
At all times herein mentioned plaintiffs were, and still are, the owners and were, and still are,
entitled to the possession of certain property as described heretofore that were converted by
the defendants for their own use.
As a direct and proximate cause of the defendant’s conversion of the plaintiffs’ property,
plaintiff has suffered damages, the full nature and extent of which are presently unknown, but
which will be determined according to proof at trial.
THIRD CAUSE OF ACTION

CLAIM FOR FALSE ADVERTISING
(Lanham Act, 15 USC § 1125(a))

Plaintiffs hereby incorporate by this reference paragraphs 1 through 21 above as if set forth
fully herein.

Bonham’s website statements pertaining to the provenance of the dress have been published
by Bonham’s and used as commercial advertisement or promotion for the advertised
products.

Said statements are false and intended to harm plaintiff and the Estate of Gilbert V. Hartke
by implying that the defendants have title and ownership to the property.

FOURTH CAUSE OF ACTION
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INJUNCTION

. Plaintiffs hereby incorporate by this reference paragraphs 1 through 24 above as if set forth

fully herein.

Defendants’ false statements and illegal attempts to sell the Estate of Gilbert V. Hartke’s
property have caused and are likely to continue to cause competitive or commercial injury.
The Estate of Gilbert V. Hartke is being irreparably harmed by defendants’ unlawful actions
and plaintiff is entitled to an injunction prohibiting defendant from selling property of the
Estate of Gilbert V. Hartke including but not limited to the described dress.

Plaintiff has no adequate remedy at law that will compensate for the continued and
irreparable harm she and, or the Estate of Gilbert V. Hartke will suffer if the dress is
transferred outside of this District and, or the scheduled auction is permitted to continue.
WHEREFORE plaintiff prays for judgment against the defendants as follows:

a. Defendants and all agents, servants, employees and attorneys and all other
persons in active concert or participation with it who receive actual notice of the
injunction be temporarily, preliminarily and permanently enjoined from
transferring to anyone other than plaintiff and, or the Estate of Gilbert V. Hartke
the dress advertised on Bonham’s website, or moving said dress outside of this
District;

b. Plaintiff and, or the Estate of Gilbert V. Hartke be awarded damages and
restitution for the wrongful conversion of their property;

c. Plaintiff be awarded reasonable attorneys’ fees and costs of suit.
    

Dated: May 3, 2022

 

Anthony Scordo
Attorney for Plaintiff Barbara Ann Hartke,
Individuaily and on behalf of the Estate of Gilbert
V. Hartke, deceased

VERIFICATION OF COMPLAINT
Barbara Ann Hartke, of full age, says:

1. Iam the Plaintiff in the foregoing Verified Complaint.
2. The allegations therein are true to my personal knowledge.
3. I certify the above-mentioned statements are true. I realize if the above statements

are willfully false, I am subject to punishment.
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Barbara Ann Hartke |

Dated: May 3, 2022
